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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

SCOTT EWERS,

      Plaintiff,
                                            Case No. 5:16-cv-13067-JCO-MKM
v
                                            Hon. John Corbett O’Meara
                                            Mag. Mona K. Majzoub
MEDICAL FINANCIAL SOLUTIONS,

     Defendants.
__________________________________________________________________


           NOTICE OF VOLUNTARY DISMISSAL AS TO
         DEFENDANT MEDICAL FINANCIAL SOLUTIONS
    WITH PREJUDICE AND WITHOUT COSTS TO EITHER PARTY

      The Plaintiff hereby dismisses the within action against Defendant Medical
Financial Solutions, with prejudice and without costs to either party.



                                                  Respectfully submitted


October 14, 2016                                  /s/ Gary Nitzkin____________
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